          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                      CRIMINAL CASE NO. 3:08cr259


UNITED STATES OF AMERICA,     )
                              )
                              )
              vs.             )                       ORDER
                              )
                              )
LORETTA BLAKENEY-HERRON,      )
LATOYA BLAKENEY, LAJARIKA     )
BLAKENEY, LAQUASHA BLAKENEY, )
LATOYA MOORE, GARNETT         )
COULBOURNE, TERRELL ZARDEE, )
SHONTAVIA BARBER, and         )
GABRIEL NEAL.                 )
                             )



      THIS MATTER is before the Court on the Government’s Motion to

Amend Restitution Order [Doc. 262].

      The Government advises that one victim, Mark L. Schuler, was omitted

from the restitution order due to clerical error on the part of the Government.

Mr. Schuler sustained a loss of $7,877.62 as a result of the conspiracy. No

response opposing an amendment of the order of restitution has been filed by

any one of the Defendants.

      The restitution order entered for each Defendant was timely under the


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Mandatory Victim Restitution Act (MVRA). 18 U.S.C. §3664(d). As stated, no

Defendant has objected and the “‘intended beneficiaries’ of the MVRA’s

procedural mechanisms ‘are the victims, not the victimizers.’” United States

v. Balentine, 569 F.3d 801, 806-07 (8 th Cir. 2009), certiorari denied     S.Ct.

 , 2010 WL 2471088 (2010), quoting United States v. Grimes, 173 F.3d 634,

639 (7 th Cir. 1999) (the statute clearly allows for the amendment of a timely

restitution order). “The MVRA permits amendments to restitution orders to

reflect changed circumstances, and neither confers nor terminates a court’s

jurisdiction.” United States v. Vandeberg, 201 F.3d 805, 814 (6 th Cir. 2000).

The Court therefore has jurisdiction to amend the restitution order since the

MVRA “was not created for the benefit of the convicted criminal, but to protect

the victims of the crimes of which he has been convicted.” United States v.

Bogart, 576 F.3d 565, 570 (6 th Cir. 2009), quoting United States v. Terlingo,

327 F.3d 216, 220 (3 rd Cir. 2003). Thus, although this amendment comes

more than ninety days after sentencing, this Court retains jurisdiction to

amend the order. United States v. Johnson, 400 F.3d 187,199 (4 th Cir. 2005),

certiorari denied 546 U.S. 856, 126 S.Ct. 134, 163 L.Ed.2d 133 (2005);

United States v. Zakhary, 357 F.3d 186 (2 nd Cir. 2004), certiorari denied 541

U.S. 1092, 124 S.Ct. 2833, 159 L.Ed.2d 259 (2004). “[D]istrict courts can

enter restitution orders more than ninety days after sentencing provided that


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the delay does not prejudice the defendant.” Johnson, 400 F.3d at 199. As

noted, no objection has been raised and the Court finds the amendment

should be granted.      Id. (“Absent a defendant’s clear showing that his

substantial rights have been prejudiced by a §3664(d)(5) delay, it would in

fact, defeat the statutory purpose to allow a defendant to invoke this provision

in order to avoid paying restitution to the victims of his crime.”), quoting United

States v. Zakhary, 357 F.3d at 192-93; see, e.g., Fed.R.CrimP. 36.

      The Clerk of Court is instructed to prepare amended judgments for each

Defendant amending the total amount of restitution to the sum of $31,090.32

and amending page 5a of each judgment to include Mark L. Schuler as a

payee and the amount of restitution ordered as to him to be $7,877.62. All

other terms and provisions of the judgments shall remain the same.

      IT IS, THEREFORE, ORDERED that the Government’s Motion to

Amend Restitution Order [Doc. 262] is hereby GRANTED.

      The Clerk of Court is instructed to prepare amended judgments in

accordance with this Order.

                                         Signed: June 30, 2010




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